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In the United States Court of Federal Clauns

 

 

)
MARK DOWNEY, )
On Behalf of Estate of Virginia Downey, —)
)
Plaintiff, ) No. 19-1631C
)
v. ) Filed January 31, 2020
)
THE UNITED STATES, }
)
Defendant. )
)
DISMISSAL ORDER

Plaintiff pro se, Mark Downey, commenced this action on October 17, 2019. ECF No. 1.

On November 13, 2019, the government filed a motion to dismiss this matter for lack of subject-
matter jurisdiction, pursuant to Rule 12(b)(1) of the Rules of the United States Court of Federal
Claims (“RCFC”). ECF No. 11. After plaintiff failed to file a timely response to the
government’s dispositive motion, the Court issued a Show Cause Order on January 10, 2020,
directing the plaintiff to file the outstanding response to the government’s motion to dismiss and
to show cause, in writing, as to why he had not timely filed his response by January 24, 2020.
ECF No. 12. In the Show Cause Order, the Court also stated that should plaintiff fail to file a
response to the government’s motion to dismiss by January 24, 2020, the Court would treat such
failure as a failure to comply with a Court Order and to prosecute this matter, pursuant to RCFC

41(b). Id, To date, plaintiff has not filed a response to the government’s motion to dismiss.

In light of the foregoing, the Court: (1) DIRECTS the Clerk’s office to dismiss this
matter without prejudice, and (2) DENIES-AS-MOOT the government’s motion to dismiss.

IT IS SO ORDERED.
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Judge i)

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